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                     UNITED STATES BANKRUPTCY COURT
                                         District
                                  __________      of Maryland
                                              District Of __________

In re Zachair, Ltd                                 ,                        Case No. 20-10691




                TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



 Maureen Bell Asterbadi                                     Arlyn Construction
        Name of Transferee                                          Name of Transferor

Name and Address where notices to transferee               Court Claim # (if known): N/A
should be sent:                                            Amount of Claim: $1,753.00
 2726 Chain Bridge Road NW                                 Date Claim Filed: Schedules
 Washington, D.C. 20016

  mbasterbadi@aol.com



All pre-petition date claims of transferor against the Debtor have been transferred by Transferor to
Transferee.

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.


By:                                                        Date: March 29, 2024
        Patrick J. Potter




                                                                                                 4881-7468-3570.v1
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 MAUREEN BELL ASTERBADI
                                                         15-154/540                 164
 2726 CHAIN BRIDGE AD. NW




                                          ED
 WASHINGTON, DC 20016-3404



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